

Matter of Prendergast (2024 NY Slip Op 03791)





Matter of Prendergast


2024 NY Slip Op 03791


Decided on July 11, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 11, 2024

PM-133-24
[*1]In the Matter of Barbara L. Prendergast, an Attorney. (Attorney Registration No. 1939891.)

Calendar Date:July 1, 2024

Before:Garry, P.J., Clark, Reynolds Fitzgerald, Fisher and Powers, JJ.

Barbara L. Prendergast, Lexington, North Carolina, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Barbara L. Prendergast was admitted to practice by this Court in 1984 and lists a business address in Lexington, North Carolina with the Office of Court Administration. Prendergast now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Prendergast's application.
Upon reading Prendergast's affidavit sworn to May 22, 2024 and filed May 28, 2024, and upon reading the June 26, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Prendergast is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Reynolds Fitzgerald, Fisher and Powers, JJ., concur.
ORDERED that Barbara L. Prendergast's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Barbara L. Prendergast's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Barbara L. Prendergast is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Prendergast is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Barbara L. Prendergast shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








